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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


MISSISSIPPI IMMIGRANTS RIGHTS
ALLIANCE,

       Plaintiff,                                                          3:19-cv-831-CWR-FKB
                                                        Civil Action No. _____________________

       v.

 DELBERT HOSEMANN, in his official
 capacity as Secretary of State of the State of
 Mississippi,

       Defendant.




   COMPLAINT OF PLAINTIFF MISSISSIPPI IMMIGRANTS RIGHTS ALLIANCE


       Plaintiff Mississippi Immigrants Rights Alliance, by and through their undersigned

counsel, hereby allege as follows:

                                        INTRODUCTION

       1.      This is an action brought under 42 U.S.C. § 1983 against Delbert Hosemann, in

his official capacity as the Secretary of State of the State of Mississippi (the “Secretary”).

       2.      Section 1 of the Fourteenth Amendment provides:

       All persons born or naturalized in the United States, and subject to the jurisdiction
       thereof, are citizens of the United States and of the state wherein they reside. No
       state shall make or enforce any law which shall abridge the privileges or
       immunities of citizens of the United States; nor shall any state deprive any person
       of life, liberty, or property, without due process of law; nor deny to any person
       within its jurisdiction the equal protection of the laws.

U.S. Const. amend. XIV, § 1.




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       3.      Mississippi Code Ann. § 23-15-15 imposes a documentary proof-of-citizenship

voter registration requirement on naturalized citizens, but not on anyone else. The statute

provides:

       It shall be the duty of any person who has acquired citizenship by order or decree
       of naturalization and who is otherwise qualified to register and vote under the
       laws of the State of Mississippi to present or exhibit to the registrar of the county
       of his or her residence, at or before the time he or she may offer to register, a
       certified copy of the final order or decree of naturalization, or a certificate of
       naturalization or duplicate thereof, or a certified copy of such certificate of
       naturalization or duplicate; ௗotherwise he or she shall not be allowed to register or
       to vote.

Miss. Code Ann. § 23-15-15.

      4.       Both on its face and as applied, § 23-15-15 treats naturalized citizens — who are

overwhelmingly foreign-born immigrants — differently from U.S.-born citizens for purposes of

voter registration. That is unconstitutional. The Fourteenth Amendment’s Equal Protection

Clause itself draws no distinction between citizens born or naturalized in the United States. In

the eyes of the Constitution, they are one and the same.

      5.       Naturalized citizens are American citizens in every sense of the term, and they

must be treated as such. Naturalized citizens demonstrate their commitment to the United States,

and the guiding principles upon which it was founded, by completing a lengthy naturalization

process, being a permanent legal resident of the United States for at least five years, completing

an interview, and passing tests involving speaking, reading, and writing in English and a test on

U.S. history and government. They have satisfactorily demonstrated “an attachment to the

principles and ideals of the U.S. Constitution.” See Naturalization Information, Dep’t of

Homeland Security, available at https://www.uscis.gov/citizenship/educators/naturalization-

information. They have the right to vote in local, state, and federal elections — a right which

§ 23-15-15 intends to, and does, violate.

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      6.       Section 23-15-15’s differential treatment of naturalized citizens is burdensome on

them, discourages them from registering to vote and voting, and in many cases forecloses them

from registering to vote and voting. This differential treatment and discriminatory impact

violates the Fourteenth Amendment and long-standing U.S. Supreme Court jurisprudence, which

recognizes that “[c]itizenship obtained through naturalization is not a second-class citizenship.”

United States v. Knauer, 328 U.S. 654, 658 (1946). As former Justice Louis Brandeis once

remarked, “the only title in our democracy superior to that of President is the title of citizen.”

U.S. Citizenship & Immigration Servs., The Citizen’s Almanac 2 (2014), available at

http://tinyurl.com/qfesah6.

      7.       No state in the United States other than Mississippi subjects naturalized citizens to

a higher proof-of-citizenship requirement for voter registration than U.S.-born citizens. The time

has come for the State of Mississippi to stop doing so.

      8.       Plaintiff respectfully seeks a judicial declaration that § 23-15-15 is

unconstitutional, both on its face and as applied, because it discriminates against naturalized

citizens by singling them out for differential treatment in violation of the Fourteenth

Amendment’s Equal Protection Clause.

      9.       Plaintiff also respectfully requests that the Court grant and issue a permanent

injunction (1) prohibiting the enforcement of § 23-15-15’s proof-of-citizenship requirement and

placing Mississippi’s naturalized citizens on equal footing with the State’s other voter-

registration applicants; and (2) requiring the Secretary, Mississippi’s chief election official, to

take affirmative steps to educate local election officials and the general public about the changed

registration requirements.




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                                   JURISDICTION AND VENUE

       10.     This action arises under the First and Fourteenth Amendments to the United

States Constitution and 42 U.S.C. § 1983.

       11.     The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 (federal question jurisdiction) and 28 U.S.C. § 1343 (jurisdiction over civil rights

actions).

       12.     The Court has authority to grant both declaratory and injunctive relief pursuant to

28 U.S.C. § 2201 (authority to grant declaratory relief) and 28 U.S.C. § 2202 (authority to grant

relief ancillary to declaratory judgment), in addition to its inherent equitable powers.

       13.     The Court has personal jurisdiction over the Secretary, whose principal office is

located in Jackson, Mississippi.

       14.     Venue lies in the Southern District of Mississippi pursuant to 28 U.S.C. § 1391(b)

because the Secretary is a resident of Mississippi, and a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred and will occur in this judicial district.

                                            PLAINTIFF

       15.     Plaintiff Mississippi Immigrants Rights Alliance (“MIRA”) is a nonpartisan,

interracial, nonprofit membership organization headquartered in Jackson, Mississippi. MIRA

was founded in 2000 in response to the needs of the rapidly growing immigrant population in

Mississippi. MIRA’s mission involves using advocacy, education, organizing, and legal services

to expand and protect the rights of immigrants and their families in Mississippi. MIRA currently

has approximately 1,000 members, many of whom are naturalized citizens. In furtherance of its

mission, MIRA provides a range of services that help new Mississippians navigate the

naturalization process and become American citizens. MIRA staff help many naturalized

citizens and U.S.-born family members of immigrants, some of whom are limited in their
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English proficiency, to register to vote. Indeed, MIRA participates in a program that has assisted

with registering thousands of citizens to vote and also has engaged in mobilizing new voters to

participate in elections. (See Exhibit A.)

                                             DEFENDANT

       16.     Defendant Delbert Hosemann is Mississippi’s Secretary of State, and is being

sued herein in his official capacity. The Secretary leads the Elections Division of the Secretary

of State’s office, and in that capacity, is responsible for, among other things, ensuring that

Mississippians’ voices are heard throughout the election process, training election officials, and

assisting local election officials in carrying out their election-related duties and responsibilities.

See Mississippi Secretary of State, “Elections & Voting,” http://www.sos.ms.gov/Elections-

Voting/Pages/default.aspx.

       17.     The Secretary of State is Mississippi’s chief election officer for the purposes of

the National Voter Registration Act of 1993. Miss. Code Ann. § 23-15-211.1.

       18.     The Mississippi Secretary of State is responsible for implementing and

maintaining Mississippi’s voter registration database, the Statewide Elections Management

System. That database contains the official list of all voters eligible to vote in Mississippi

elections. Miss. Code Ann. §§ 23-15-165(1), 23-15-11. The Secretary of State is empowered to

adopt rules and regulations necessary to administer the Statewide Elections Management

System. Id. § 23-15-165(4).

       19.     The Mississippi Secretary of State’s office created the State’s mail-in registration

form and is responsible for furnishing it to county circuit clerks and municipal registrars, driver’s

license offices, and other agencies. Miss. Code Ann. §§ 23-15-47(3)-(4). Under Mississippi

Code § 25-33-33, the Secretary may prescribe forms and establish fees for services not otherwise



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provided by law. The Secretary also has authority to promulgate regulations under the

Mississippi Administrative Procedures Act. Miss. Code Ann. §§ 25-43-1.101 et. seq.

       20.     The Secretary also is charged with reviewing the Mississippi Election Code “for

potential updates and revisions” to present to the State Legislature for consideration. In 2016,

the Secretary formed the Election Code Study Group, comprised of legislators, circuit clerks, and

election commissioners (among others) “to discuss current State election laws and determine

which revisions or updates would promote security of the ballot, efficiency of the election

system and transparency.” Mississippi Secretary of State, “2016 Election Law Reform

Committee,” https://bit.ly/2rQ47mJ. Despite the ability to do so, the Secretary has not proposed

a change to Mississippi Code § 23-15-15.

                                  FACTUAL ALLEGATIONS

                               Requirements of Mississippi Law

       21.     Only United States citizens may legally register to vote in the State of Mississippi.

Miss. Code Ann. §§ 23-15-11, 23-15-21.

       22.     First-time Mississippi registrants can mail voter registration applications to their

respective county circuit clerks, or register in person at certain government agencies. Miss. Code

Ann. § 23-15-47; 1-10 Miss. Code R. § 7.1.

       23.     Mississippi law requires that all voter registration applicants affirm under penalty

of perjury that they are citizens of the United States. See, e.g., Mississippi Mail-In Voter

Registration Application, available at http://www.sos.ms.gov/Elections-Voting/Documents/

Voter_Registration.pdf.

       24.     Mississippi voter registration applicants must provide a Mississippi driver’s

license or the last four digits of their social security number. 1-10 Miss. Code R. Exhibit E at 24.

Applicants who cannot do so must produce a copy of a current and valid photo ID or a copy of a
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current utility bill, bank statement, government check, paycheck, or other government document

showing their name and current address. 1-10 Miss. Code R. Exhibit D at 21.

       25.     The foregoing requirements apply equally to both U.S.-born and naturalized

citizens. But Mississippi’s naturalized citizens are subject to an additional registration

requirement: they must present “a certified copy of the final order or decree of naturalization, or

a certificate of naturalization or duplicate thereof, or a certified copy of such certificate of

naturalization or duplicate; otherwise [they] shall not be allowed to register or to vote.” Miss.

Code Ann. § 23-15-15. In other words, under § 23-15-15, naturalized citizens are not permitted

to show, for example, a United States passport as proof of their citizenship.

       26.     If a U.S. born citizen does not have a driver’s license or any other documentation,

he or she can register to vote by providing the last four digits of his or her social security

number. Naturalized citizens do not have this option and must present their naturalization

paperwork.

       27.     Under the Mississippi Attorney General’s interpretation of § 23-15-15, applicants

must present the enumerated documentation to the appropriate circuit clerk or any deputy county

registrar or municipal clerk that has the authority to process voter registration applications. Op.

Miss. Att’y Gen., Aug. 25, 1989, 1989 WL 503394.

       28.     Mississippi’s documentary proof of citizenship statute, § 23-15-15, is currently

being implemented and applied to naturalized citizens in the State of Mississippi.

       29.     The Mississippi Secretary of State’s office confirmed in writing in December

2018 that “an applicant is not required to offer evidence of U.S. citizenship unless an applicant is

a naturalized citizen. A naturalized citizen is required by statute (Mississippi Code Annotated

§ 23-15-15) to provide proof or evidence of naturalization to the local Circuit Clerk at the time of



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registration.” (See Exhibit B, Letter from Anna Moak, Sr. Counsel, Miss. Sec’y of State’s

Office, Dec. 26, 2018, at 2.)

       30.     Mississippi’s documentary proof-of-citizenship requirement for naturalized

citizens has existed since at least 1924, when the State Legislature enacted Chapter 154, and was

not subject to Section 5 preclearance under the Voting Rights Act. Under Section 5, covered

jurisdictions cannot enact voting-related changes with a discriminatory purpose or implement

voting-related changes that have a retrogressive effect on the ability of minority voters to

participate in the political process (as determined by the Department of Justice, the United States

District Court for the District of Columbia, or an appellate court). See 52 U.S.C. § 10304.

       31.     Counsel for the State of Mississippi confirmed that the documentary proof-of-

citizenship requirement was not subject to Section 5 preclearance in a submission of a separate

omnibus election bill to the U.S. Department of Justice in 1986. (See Exhibit C.)

       32.     Naturalized citizens may not even be aware of the documentary proof-of-

citizenship requirement until their voter registration applications are rejected. For example, the

documentary proof-of-citizenship requirement is not stated on any voter registration materials

prepared by the Mississippi Secretary of State’s office. See 1-10 Miss. Code R. Exhibit D

(Mississippi Mail-In Voter Registration Application); 1-10 Miss. Code R. Exhibit E (Instructions

to Mississippi Mail-In Voter Registration Application); Mississippi Voter Information Guide

available at https://www.sos.ms.gov/Elections-Voting/Documents/VoterInformationGuide.pdf

(last visited Nov. 16, 2019).

       33.     All registered voters in Mississippi, including naturalized citizens who have

already provided proof of citizenship when registering, also must provide photo identification to

cast a ballot in person at a polling place. H.B. 921, 2012 Miss. Leg., Reg. Sess.



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        34.     The Mississippi driver’s licenses issued to non-citizens who are legally in the

United States are stamped “Non-US Citizen Driver License.” See Arielle Dreher, Mississippi

Outs Legal Immigrants on Drivers’ Licenses, Jackson Free Press, Apr. 4, 2018, available at

http://www.jacksonfreepress.com/news/2018/apr/04/mississippi-outs-legal-immigrants-licenses/.

The driver’s licenses of naturalized citizens do not contain this language. Considering that non-

citizens who are not eligible to vote possess driver’s licenses clearly stamped “Non-US Citizen

Driver License,” there is no basis for prohibiting naturalized citizens from using their driver’s

license to register to vote.


                   Impact and Burden on Mississippi’s Naturalized Citizens

        35.     Section 23-15-15 discriminates against naturalized citizens by denying them the

right to register to vote if they do not present their naturalization certificate or a certified copy

thereof. Only naturalized citizens must carry with them documentary proof of their citizenship

— in the form of naturalization certificates — to guarantee the opportunity to register to vote.

        36.     Further, the statute discriminates against naturalized citizens who might not have

ready access to their naturalization certificates, particularly those individuals whose certificates

have been stolen or misplaced and lack the financial means to pay the $555 filing fee to obtain

replacement copies. The statute also burdens voters who do not have a “copy of the original

document” to submit in connection with an application for a replacement certificate. See U.S.

Citizenship and Immigration Services, “N-565, Application for Replacement

Naturalization/Citizenship Document,” available at https://www.uscis.gov/n-565.

        37.     Obtaining a replacement naturalization certificate from the U.S. Department of

Homeland Security is a lengthy process, frequently taking more than six months or even more

than a year to complete. Replacing a naturalization certificate can result in applicants being


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required to respond to a request from the United States Citizenship and Immigration Services

(“USCIS”) to appear for an interview or to provide additional evidence in writing. See U.S.

Citizenship and Immigration Services, “Replace My Naturalization Certificate or Certificate of

Citizenship,” available at https://my.uscis.gov/exploremyoptions/lost_stolen_certificate.

       38.      Section 23-15-15 also discriminates against naturalized citizens who may not

have ready access to transportation or the ability to take time off work in order to comply with

the proof of citizenship requirement. Native-born citizens have several options for how to

register to vote — in person at the circuit clerk’s office; municipal clerk’s office; or any state or

federal agency offering government services, such as the Department of Human Services; at the

Mississippi Department of Public Safety when obtaining a driver’s license or identification card;

or simply by mailing in the voter registration application. Section 23-15-15, however, requires

that naturalized citizens “present or exhibit” their naturalization certificate to the local circuit

clerk — and not to anyone else — to register to vote.

       39.      The documentary proof-of-citizenship requirement burdens thousands of

Mississippi’s naturalized citizens, including members of the plaintiff organizations, who are

otherwise eligible and qualified to vote but who cannot produce, or have difficulty producing, a

naturalization certificate on demand when registering to vote. Naturalized citizens of Mississippi

who no longer have copies of their naturalization certificates because their original certificates

were lost, destroyed, damaged, or stolen, and who lack the means of obtaining replacement

copies, may be denied the ability to register and, ultimately, their right to vote as a result of the

documentary proof-of-citizenship requirement. Naturalized citizens seeking to register to vote

whose naturalization certificates are lost, stolen, damaged, or destroyed within months before an

election may not be able to obtain a replacement certificate in time to vote or to have their

provisional ballots counted.
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        40.     The problem created by § 23-15-15 is made more pronounced because of

Mississippi’s practices at naturalization ceremonies. According to USCIS, “All newly

naturalized citizens must be given the opportunity to register at the end of the administrative

naturalization ceremony when the new citizen is then eligible to register to vote.” 12 USCIS-PM

J.5(F)(1). USCIS’s preference is for state or local election officials to provide voter registration

services at the ceremony. Id. If that is not possible, USCIS’s next stated preference is for a non-

governmental organization that conducts voter registration to provide such services at the

ceremony. Id. In the absence of these options, USCIS’s policy is to provide voter registration

applications to all new citizens. Id.; 12 USCIS-PM J.5(J)(1) (“USCIS is responsible for . . .

[e]nsuring that voter registration applications are offered to new citizens at the end of the

ceremony.”).

        41.     In many states, such as Texas, Florida, and Georgia, voter registration

opportunities are generally available at naturalization ceremonies for new citizens and their

families. Voter registration groups, in coordination with state election officials and law

enforcement authorities, bring applications and other necessary materials to naturalization

ceremonies and conduct registration drives for new citizens and other individuals who wish to

register to vote.

        42.     In Mississippi, however, voter registration opportunities are rarely available at

naturalization ceremonies despite the federal government’s express goal of providing voter

registration opportunities at naturalization ceremonies.


                          Mississippi’s Naturalized Citizen Population

        43.     According to the 2013-2017 American Community Survey, there are

approximately 26,424 naturalized citizens in Mississippi.


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       44.     Mississippi’s naturalized citizen population has increased by more than 50 percent

between 2000 (roughly 16,098 per the 2000 decennial census) and 2015 (approximately 26,424

per the 2013-2017 American Community Survey).

       45.     Mississippi’s naturalized citizen population is predominantly non-white. Of the

approximately 26,424 naturalized citizens in Mississippi, about 11,989 (45.3%) were born in

Asia, 8,063 (30.5%) were born in Latin America, 4,193 (15.8%) were born in Europe, and 1,507

(5.7%) were born in Africa, according to the 2013-2017 American Community Survey.


                        Impact and Burden on MIRA and its Members

       46.     The protection of the rights of immigrants and their families in Mississippi is a

fundamental part of MIRA’s mission. Voting is one of the most important rights — and

responsibilities — that citizens have. Thus, helping naturalized citizens and U.S.-born family

members of immigrants to register to vote is crucial to MIRA’s mission. However, it is only one

of the many services that MIRA provides to immigrants, which include, but are not limited to,

assistance with the naturalization process and assistance with access to housing, health care, and

safe working conditions. MIRA’s other organizational activities include legislative advocacy,

public education efforts, and providing legal services to immigrants.

       47.     Helping U.S.-born citizens, including family members of immigrants, to register

to vote is generally a simple process that requires the completion and submission of the voter

registration form. Helping naturalized citizens comply with the proof-of-citizenship requirement

requires additional resources in the form of staff, volunteer time, and money. Those resources

are allocated to helping MIRA’s members and other naturalized citizens navigate the voter

registration process, educating them regarding the additional registration requirements for

naturalized citizens, and assisting them with obtaining the requisite documentation and their


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registrations. As the population of naturalized citizens grows in Mississippi, MIRA is forced to

increasingly divert resources to combat the burden imposed by Mississippi’s proof-of-citizenship

requirement for naturalized citizens. MIRA’s resources are very limited because the

organization relies primarily on donations and volunteers to conduct its operations. As such,

every hour of staff or volunteer time that is expended to address the proof-of-citizenship

requirement is being diverted from MIRA’s other projects, such as its naturalization services and

legislative advocacy efforts. Thus, the proof-of-citizenship requirement frustrates MIRA’s

mission to protect the rights of immigrants and their families.

          48.      MIRA’s members include naturalized citizens who are subject to Mississippi’s

proof-of-citizenship registration requirement. These MIRA members have been, and continue to

be, denied equal treatment under the law as a result of the discriminatory proof-of-citizenship

requirement. MIRA’s interest in protecting the rights of its members who are naturalized

citizens and shielding them from discrimination is inherent to its mission of protecting immigrant

rights.


                                 COUNT I: EQUAL PROTECTION
                42 U.S.C. § 1983 – Discrimination in Violation of the Equal Protection
                Clause of the Fourteenth Amendment to the United States Constitution

          49.      Plaintiff incorporates and re-alleges each of the foregoing paragraphs as though

set forth fully herein.

          50.      Under 42 U.S.C. § 1983, “[e]very person who, under color of any statute,

ordinance, regulation, custom, or usage, of any State . . . subjects or causes to be subjected, any

citizen of the United States or other person within the jurisdiction thereof to the deprivation of

any rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the

party injured in an action at law, suit in equity, or other proper proceeding for redress.”

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       51.      The Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution provides that no state shall “deny to any person within its jurisdiction the equal

protection of the laws.”

       52.      Mississippi’s voting procedures deny equal protection of the laws to its

naturalized citizens, including members of MIRA, by arbitrarily and unnecessarily creating two

classes of voter registration applicants: naturalized citizens, who are subject to a documentary

proof-of-citizenship requirement, and native-born U.S. citizens, who are not subject to any such

requirement.

       53.      The documentary proof-of-citizenship requirement singles out naturalized citizens

because it requires that they produce a naturalization certificate or a certified copy before being

permitted to register to vote. This requirement discriminates on the basis of national origin in

violation of the Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution.

       54.      Mississippi’s documentary proof-of-citizenship requirement for naturalized

citizens is not outweighed by, and is not necessary to promote, any substantial or compelling

state interest that cannot be accomplished by other, less restrictive means.

       55.      There is no compelling or even legitimate justification for imposing the extra

burden of a proof of citizenship voter registration requirement on the right to vote of

Mississippi’s naturalized citizens, or for limiting the forms of acceptable documentation to a

naturalization certificate or a certified copy.

       56.      While § 23-15-15 is subject to strict scrutiny, there is no legitimate or even

rational reason why requiring documentary proof of citizenship solely from naturalized citizens

is likely to prevent voting by ineligible non-citizens.



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        57.     Mississippi’s documentary proof-of-citizenship requirement is being implemented

under color of the laws of the State of Mississippi.

        58.     Existing provisions of the Mississippi Code and federal law adequately protect the

integrity of elections in Mississippi. See, e.g., Miss. Code Ann. § 97-13-25 (illegal registration is

a crime resulting in imprisonment in a State Penitentiary for up to five years and/or a fine of up

to $5,000), § 23-15-21.

        59.     Plaintiff will continue to suffer the violation of its rights as alleged in this

Complaint absent relief granted by the Court.


              COUNT 2: BURDEN ON THE FUNDAMENTAL RIGHT TO VOTE
   42 U.S.C. § 1983 – Violation of the First Amendment and the Due Process and Equal
    Protection Clauses of the Fourteenth Amendment to the United States Constitution

        60.     Plaintiff incorporates and re-alleges each of the foregoing paragraphs as though

set forth fully herein.

        61.     The First and Fourteenth Amendments of the United States Constitution protect

the right to vote as a fundamental right. The First Amendment’s guarantees of freedom of

speech and association protect all citizens’ right to vote and to participate in the political process.

The right to vote is a fundamental constitutional right also protected by both the due process

clause and equal protection clause of the Fourteenth Amendment. See, e.g., Bush v. Gore, 531

U.S. 98, 104-05 (2000); Harper v. Va. State Bd. of Elections, 383 U.S. 663, 670 (1966);

Anderson v. Celebrezze, 460 U.S. 780, 786-87 & n.7 (1983).

        62.     Discriminatory and severe burdens on the right to vote are subject to strict

scrutiny. Harper, 383 U.S. at 670; Anderson v. Celebrezze, 460 U.S. at 786-87. The burdens

imposed by Mississippi’s proof of citizenship requirement are plainly discriminatory and severe.

The requirement burdens naturalized citizens, but not other voter registration applicants.

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       63.     The strict proof of citizenship requirement requires the applicant to provide a

naturalization certificate or a certified copy, but not any other documentation proving the

applicant is a U.S. citizen. The requirement also applies to an arbitrary subsection of

Mississippi’s eligible voters. As such, it is not narrowly drawn to advance any state interest

sufficiently compelling to justify the imposition of a registration requirement that can burden or

disenfranchise otherwise eligible voters.

       64.     While the burdens of this requirement are severe and discriminatory, Mississippi’s

regime cannot pass muster even under the less restrictive Anderson-Burdick balancing test for

more ordinary voting regulations. Burdick v. Takushi, 504 U.S. 428, 434 (1992) (holding that

courts “must weigh ‘the character and magnitude of the asserted injury to the rights protected by

the First and Fourteenth Amendments that the plaintiff seeks to vindicate’ against ‘the precise

interests put forward by the State as justifications for the burden imposed by its rule,’ taking into

consideration ‘the extent to which those interests make it necessary to burden the plaintiffs

rights’” (quoting Celebrezze, 460 U.S. at 789)).

       65.     There is no sufficient state interest justifying Mississippi’s documentary proof of

citizenship requirement that is not already adequately protected by Mississippi’s preexisting

criminal laws and elections apparatus, particularly given Mississippi’s strict photo ID law and

the fact that applicants must swear or affirm their United States citizenship on the voter

registration form under penalty of perjury.

       66.     If enforcement of the proof of citizenship requirement for naturalized citizens is

not enjoined or otherwise modified to ameliorate the severe burdens it imposes, it will continue

to indefinitely impose severe burdens on naturalized citizens’ right to vote, requiring Plaintiff to

divert resources in an attempt to remedy the deprivation.



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       67.      Plaintiff will continue to suffer the violation of its rights as alleged in this

Complaint absent relief granted by the Court.

                                       PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully prays that the Court:

       1.       Enter judgment in favor of Plaintiff and against the Secretary on the claims for

relief as alleged in this Complaint;

       2.       Enter a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202 declaring

that Mississippi’s documentary proof-of-citizenship requirement for naturalized citizens as

codified in § 23-15-15 of the Mississippi Code violates the First Amendment and the Due

Process and Equal Protection Clauses of the Fourteenth Amendment to the United States

Constitution;

       3.       Grant Plaintiff preliminary and/or permanent injunctive relief by enjoining the

enforcement of Mississippi’s proof-of-citizenship requirement as codified in § 23-15-15 of the

Mississippi Code;

       4.       Grant Plaintiff preliminary and/or permanent injunctive relief by ordering the

Secretary, his employees, agents, officers, servants, and successors to undertake the following

remedial actions:

                a.      Issue guidance to county election officials confirming that they cannot

       require documentary proof of citizenship from naturalized citizens and must accept the

       same affirmation of citizenship, under penalty of perjury, provided by naturalized citizens

       who are seeking to register to vote as for all other voters;

                b.      Update the Secretary’s website, election guide, manuals, guidance, rules,

       regulations, educational materials, etc. to confirm that naturalized citizens may register to

       vote using the same affirmation of citizenship, under penalty of perjury, that all other
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 voters are required to provide under state law, and to issue guidance to county election

 officials that they should update their respective websites, election guides, manuals,

 guidance, rules, regulations, educational materials, etc. accordingly;

        c.      Conduct regular trainings for relevant staff at circuit clerk offices and

 other election officials on registration requirements for naturalized citizens, including that

 they may register to vote using the same affirmation of citizenship, under penalty of

 perjury, that all other voters are required to provide under state law, and take affirmative

 steps to evaluate and ensure staff are providing voters with correct information;

        d.      Educate Mississippians that naturalized citizens may register to vote using

 the same affirmation of citizenship, under penalty of perjury, that all other voters are

 required to provide under state law, including, but not limited to, a press release to the

 media, the distribution of print notices to all organizations that provide services to

 naturalized citizens, and posting a notice on the Secretary of State’s website;

        e.      Take steps (e.g., an audit) to evaluate and ensure that staff at county circuit

 clerks’ offices are providing naturalized citizens with the correct information about the

 procedures under which they may register to vote;

        f.      Undertake all necessary steps to ensure that naturalized citizens in

 Mississippi may register to vote using the same affirmation of citizenship, under penalty

 of perjury, that all other voters are required to provide under state law, including but not

 limited to any necessary changes to the statewide voter registration database;

        g.      Require the Secretary to transmit any Order of this Court granting

 preliminary or final injunctive relief to county boards of elections;




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                h.      Require the Secretary to take all steps permitted by law to allow and

         encourage voter registration groups to conduct voter registration at naturalization

         ceremonies attended by Mississippi residents who are obtaining United States citizenship;

         5.     Order that the Secretary, his employees, agents, servants and successors maintain,

preserve, and not destroy until after December 31, 2028, any and all records relating to § 23-15-

15 of the Mississippi Code and its implementation;

         6.     Order that the Court shall retain jurisdiction over the Secretary and his successors

for such period of time as may be appropriate to ensure compliance with relief ordered by this

Court;

         7.     Award Plaintiff its reasonable attorneys’ fees and costs pursuant to statute; and

         8.     Grant Plaintiff such other and further relief as may be just and equitable.


Dated: November 18, 2019                            Respectfully submitted,

                                                    /s/ Beth L. Orlansky

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